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    Children and COVID-19: State-Level Data Report




State-level reports are the best publicly available and timely data on child COVID-19 cases in
the United States. The American Academy of Pediatrics and the Children’s Hospital Association
are collaborating to collect and share all publicly available data from states on child COVID-19
cases (definition of “child” case is based on varying age ranges reported across states; see report
Appendix for details and links to all data sources).
As of September 9, nearly 5.3 million children have tested positive for COVID-19 since the onset
of the pandemic. Over 243,000 cases were added the past week, the second highest number of
child cases in a week since the pandemic began. After declining in early summer, child cases
have increased exponentially, with nearly 500,000 cases in the past 2 weeks.
The age distribution of reported COVID-19 cases was provided on the health department
websites of 49 states, New York City, the District of Columbia, Puerto Rico, and Guam. Since the
pandemic began, children represented 15.5% of total cumulated cases. For the week ending
September 9, children were 28.9% of reported weekly COVID-19 cases (children, under age 18,
make up 22.2% of the US population).
A smaller subset of states reported on hospitalizations and mortality by age; the available data
indicate that COVID-19-associated hospitalization and death is uncommon in children.
At this time, it appears that severe illness due to COVID-19 is uncommon among children.
However, there is an urgent need to collect more data on longer-term impacts of the pandemic
on children, including ways the virus may harm the long-term physical health of infected
children, as well as its emotional and mental health effects.
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Summary of Findings (data available as of
9/9/21) :
Cumulative Number of Child COVID-19 Cases*
   5,292,837 total child COVID-19 cases reported, and children represented 15.5%
   (5,292,837/34,198,122) of all cases
   Overall rate: 7,032 cases per 100,000 children in the population


Change in Child COVID-19 Cases*
   243,373 child COVID-19 cases were reported the past week from 9/2/21-9/9/21 (5,049,465 to
   5,292,837) and children represented 28.9% (243,373/840,838) of the weekly reported cases
   Over two weeks, 8/26/21-9/9/21, there was a 10% increase in the cumulated number of
   child COVID-19 cases since the beginning of the pandemic (495,154 cases added (4,797,683
   to 5,292,837))


Testing (11 states reported)*^
   Among states reporting, children made up between 11.1%-21.6% of total cumulated state
   tests, and between 4.9%-17.8% of children tested were tested positive


Hospitalizations (24 states and NYC reported)*
   Among states reporting, children ranged from 1.6%-4.0% of their total cumulated
   hospitalizations, and 0.1%-1.9% of all their child COVID-19 cases resulted in
   hospitalization


Mortality (45 states, NYC, PR and GU reported)*
   Among states reporting, children were 0.00%-0.27% of all COVID-19 deaths, and 7 states
   reported zero child deaths
   ​In states reporting, 0.00%-0.03 of all child COVID-19 cases resulted in death
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* Note: The numbers in this summary represent cumulative counts since states began reporting. In this
summary and full report, the data are based on how public agencies collect, categorize and post
information. All data reported by state/local health departments are preliminary and subject to change
and reporting may change over time. Notably, in the summer of 2021, some states have revised cases
counts previously reported, begun reporting less frequently, or dropped metrics previously reported. For
example, due to several changes on their dashboards and the data currently available, AL, NE, and TX
data in this report are not current (cumulative data through 7/29/21, 6/24/21, and 8/26/21
respectively). Readers should consider these factors. States may have additional information on their
web sites.
For additional information on US child hospitalizations from the CDC, visit https://covid.cdc.gov/covid-
data-tracker/#new-hospital-admissions
For additional information on US child mortality from the CDC, visit https://covid.cdc.gov/covid-data-
tracker/#demographics
^ On 7/15/21, IA stopped updating child testing data; IA cumulative tests through 7/8/21.
  Download Full Report (9/9/2021)

  Download Full Report (9/2/2021)

  Download Full Report (8/26/2021)

Additional Information
     Caring for Children with Acute Illness in the Ambulatory Care Setting During the Public
     Health Emergency
     COVID-19 Testing Guidance
     AAP News COVID-19 Collection
     Pediatrics COVID-19 Collection




    Last Updated 09/13/2021
    Source American Academy of Pediatrics
